Case 2:96-cV-O252O-.]PI\/| Document 839 Filed 06/23/05 Page 1 of 3 Page|D 1622

 

IN THE UNITED sTATES DISTRICT coURTFIL“ED*"{'~M “;la
FOR THE wEsTERN DISTRICT oF TENNESSEES 4
wEsTERN DIVISION JUN23 AHii-be

HU§'JL'.H§ §‘..' ...PJ ;{ULIO

CZ.E:`¢~`€§~'., U.S Dii !CT.

DARIUS D. L_'LTTLE, W.D. O."` TN, NT`;.MPHIS

Plaintiff,
V. NO. 96-2520 Ml/P

SHELBY COUNTY, TENNESSEE,
et al.,

-._/-._/-._¢-...r-._r-._.¢-._r--...¢V--/

Defendants.

 

ORDER DIRECTING CLERK TO DISBURSE FU'NDS

 

The Special Master in this case, Charles Fisher, has
submitted an invoice for fees and expenses incurred in connection
with this matter for the month of May, 2005, in the amount of
$1,411.20. Accordingly, the Clerk of Court is directed to send
the sum of $1,411.20 to the Special Master, Charles Fisher, at

622 South Main Street, Covington, Tennessee 38019.

IT Is so oRDERED THIS cQ§l DAY of June, 2005.

/Qr 9 WY@QQ
8:\ ,
JON . MCCALLA
UNI ED STATES DISTRICT JUDGE

 

Th!s document entered on the docke she t|n compliance njq
with Hu!e 58 and/or 79(a) FHCP on fpc“i§ fx§

   

UNIED` STATESDISTRIC COURT - WEsm\iTE DITRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 839 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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US DISTRICT COURT

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